Case 2:20-cv-02892-SHL-tmp Document 176-2 Filed 12/27/21 Page 1 of 3   PageID 2809




                             EXHIBIT 1
Case 2:20-cv-02892-SHL-tmp Document 176-2 Filed 12/27/21 Page 2 of 3                       PageID 2810
                                                                                Bryan M. Meredith
                                                                                Attorney at Law

                                                                                1715 Aaron Brenner Drive
                                                                                Suite 450
                                                                                Memphis, Tennessee 38120
                                                                                901-315-0232, fax 901-410-3116
                                                                                bryan@meredithlegal.com




                                        December 16, 2021

  VIA ELECTRONIC MAIL                                 VIA ELECTRONIC MAIL
  Adam S. Baldridge                                   George Cary
  Matthew S. Mulqueen                                 Jennifer Kennedy Park
  BAKER DONELSON                                      Steven Kaiser
  BEARMAN CALDWELL & BERKOWITZ                        CLEARY GOTTILEB STEEN &
  165 Madison Ave                                     HAMILTON LLP
  Ste 2000                                            2112 Pennsylvania Avenue NW
  Memphis, TN 38103                                   Ste 1000
  Emails:                                             Washington, DC 20037
  abaldridge@bakerdonelson.com                        Emails:
  mmulqueen@bakerdonelson.com                         gcary@cgsh.com
                                                      jkpark@cgsh.com
                                                      skaiser@cgsh.com

         Re:    Fusion Elite All Stars, et al. v. Varsity Brands, LLC, et al., No. 2:20-cv-02600
                Jones et al. v. Varsity Brands LLC et al., No. 2:20-cv-02892

  Counselors:

          Please be advised that I represent Marlene Cota in regard to the subpoena duces tecum
  requiring her to testify and produce documents in the referenced matters pending in the U.S.
  District Court for the Western District of Tennessee. It is my understanding that you represent
  Varsity Spirit, LLC in these cases; if this is incorrect, please let me know soon.

         In the subpoena duces tecum, the Plaintiffs seek the production of numerous categories of
  documents germane to Ms. Cota’s employment with Varsity Spirit, LLC (“Varsity”). As you may
  know, on or about January 30, 2018, Ms. Cota and Burton Brillhart of Varsity executed an
  Agreement, General Release, and Confidentiality Statement (the “Agreement”). The categories of
  documents sought by Plaintiffs include documents containing information which relates to and
  references Varsity and which, pursuant to the Agreement, Ms. Cota agreed to keep confidential.

          When Ms. Cota’s employment was terminated on January 9, 2018, she was not allowed to
  access her work-space at Varsity. However, Ms. Cota was instructed to return the following day
  to receive her personal things. On January 10th, Ms. Cota returned to Varsity and Robert Tisdale
  and Ron Shaw, both Varsity employees, placed boxes of Ms. Cota’s personal items into her
  vehicle. Ms. Cota did not know specifically what the boxes provided by Varsity contained, and
  she did not examine their contents.
Case 2:20-cv-02892-SHL-tmp Document 176-2 Filed 12/27/21 Page 3 of 3                     PageID 2811

  December 16, 2021
  Page 2
  ____________________

  However, after Ms. Cota received the subpoena duces tecum issued by Plaintiffs’ counsel, she
  went through the contents of the boxes and observed that numerous documents therein are
  responsive to the subpoena and contain confidential information subject to the Agreement.

          The documents that Ms. Cota discovered in the boxes placed in her vehicle by Varsity
  include, but are not limited to, physical copies of (1) agreements and other documents describing
  or referencing Ms. Cota’s employment compensation, and/or the terms and conditions of her
  employment with Varsity; (2) correspondence between Ms. Cota and Varsity employees and/or
  sponsors or other third parties pertaining to sponsorships, competitions, competitors, and other
  business dealings; (3) business development documents disseminated by Varsity to its employees
  and/or third parties including documents related to acquiring sponsorships and commissions for
  the acquisition of new sponsorships; and (4) Ms. Cota’s personal notes made during her
  employment with Varsity, some of which are loose leaf and many of which are contained in
  volumes of notebooks. These personal notes include details of Ms. Cota’s daily experiences as a
  Varsity employee, such as events and occurrences she experienced, conversations she had with
  other employees, and her perceptions of other employees. All of the foregoing documents are
  responsive to the subpoena.
         Also, the documents responsive to the subpoena include the Agreement, the Release of
  Claims that Ms. Cota executed on or about January 30, 2018, and the Employee Confidentiality,
  Non-Solicitation, Non-Competition and Invention Assignment Agreement executed by Ms. Cota
  on or about January 4, 2016.
          I am not aware of any legal basis for Ms. Cota to refuse to produce the documents she has
  in her possession that are responsive to the subpoena duces tecum. Therefore, it is my intent to
  designate them “Highly Confidential” and for Ms. Cota to produce them to Plaintiffs’ counsel prior
  to her deposition. However, prior to the production of these documents, I wanted to give you an
  opportunity to inspect them, and to seek a protective order or other relief from the Court if you
  oppose their production to Plaintiffs’ counsel.

         At this time, the deadline for Ms. Cota’s production of documents responsive to the
  subpoena is January 3, 2022. Therefore, if you wish to arrange for an inspection of the responsive
  documents at my office or seek a protective order or other judicial relief, please do so as soon as
  possible and no later than December 29, 2021.

         I look forward to hearing from you.
                                                Very truly yours,

                                                MEREDITH LAW FIRM

                                                /s/ Bryan M. Meredith

                                                Bryan M. Meredith

  cc:    Katie Van Dyck (via electronic mail)
